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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

__________________________________________
                                          )
SENATE PERMANENT SUBCOMMITTEE ON )
INVESTIGATIONS,                           )
                                          )
                 Applicant,               )
                                          )                  Misc. No. _________
              v.                          )
                                          )
CARL FERRER,                              )
                                          )
                 Respondent.              )
__________________________________________)


                      [Proposed] ORDER
       GRANTING APPLICATION TO ENFORCE SUBPOENA DUCES TECUM
        OF SENATE PERMANENT SUBCOMMITTEE ON INVESTIGATIONS

       Upon consideration of the Application to Enforce Subpoena Duces Tecum of Senate

Permanent Subcommittee on Investigations, all papers filed in support thereof and opposition

thereto, and the entire record herein, the Court hereby finds that the Subcommittee is entitled to

enforce its subpoena issued to Carl Ferrer on October 1, 2015, for production of documents

responsive to requests 1, 2, and 3 of that subpoena, and that Mr. Ferrer has no privilege against

complying with the Subcommittee’s subpoena. Accordingly, it is hereby

       ORDERED that the Application is GRANTED; and it is further

       ORDERED that Carl Ferrer shall comply forthwith with the October 1, 2015 subpoena of

the Subcommittee and produce to the Subcommittee all documents responsive to requests 1, 2,

and 3 of the subpoena no later than 10 days from the date of this Order.


                                                      ________________________________
Dated: _____________
                                                      United States District Judge
       Case 1:16-mc-00621-RMC Document 1-17 Filed 03/29/16 Page 2 of 2



To be served on:


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